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 1                                                                             Hon. Robert S. Lasnik
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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
      UNITED STATES OF AMERICA,
11                                                              NO. CR14-82RSL
                              Plaintiff,
12                                                              ORDER CONTINUING TRIAL DATE
13                                                              AND DEADLINE TO FILE
                         v.                                     PRETRIAL MOTIONS
14
15    FELIPE MERCADO-GONZALEZ,
      EUGENIO CARRASCO-MENDEZ,
16
      ERIK MERCADO, and
17    ANDY MERCADO,
18
                              Defendants.
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21          THE COURT, having considered the Stipulated Motion to Continue Trial Date
22 and Deadline to File Pretrial Motions, defendants’ knowing and voluntary speedy trial
23 waivers, any responses, filings, or memoranda related thereto, and all the files and
24 records herein, and having held a hearing on April 29, 2014, finds as follows:
25          1.      The facts and circumstances are as set forth in the Stipulated Motion to
26 Continue Trial Date and Deadline to File Pretrial Motions;
27
28
     Order re: Stipulated Motion for Continuance/MERCADO-GONZALEZ et al. - 1       UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     No. CR14-82RSL                                                                 SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
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 1          2.      Failure to grant a continuance in this case will deny counsel the reasonable
 2 time necessary for effective preparation of trial and other pretrial proceedings, taking into
 3 account the exercise of due diligence;
 4          3.      Failure to grant a continuance would likely result in a miscarriage of
 5 justice;
 6          4.      The ends of justice served by granting this continuance outweigh the best
 7 interest of the public and the defendants in a speedy trial;
 8          5.      All these findings are made within the meaning of 18 U.S.C.
 9 § 3161(h)(7)(A) and (B)(i),(ii) and (iv);
10          6.      The period of time from the filing date of the Stipulated Motion to
11 Continue Trial Date and Deadline to File Pretrial Motions until the new trial date, set
12 forth below, shall be excludable time pursuant to the Speedy Trial Act, 18 U.S.C.
13 § 3161(h)(7)(A).
14          IT IS THEREFORE ORDERED that:
15          1.      The trial date in this matter is continued to July 7, 2014.
16          2.      Pre-trial motions are due no later than June 5, 2014.
17
18          DONE this 1st day of May, 2014.
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20
21                                                          A
                                                            Robert S. Lasnik
22                                                          United States District Judge
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28
     Order re: Stipulated Motion for Continuance/MERCADO-GONZALEZ et al. - 2       UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     No. CR14-82RSL                                                                 SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
